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U.S. Department  Justice                             Document 1-2 Filed 12/13/19 Page 1 of 4 PageID# 30
Office of Justice Programs
National Institute of Justice




                             National Law Enforcement
                             Technology CenterBulletin
June 1995                                                                                             A National Institute of Justice Program



         Positional Asphyxia—Sudden Death
Major portions of this bulletin are drawn from a report prepared by the International Association of Chiefs of Police for the National Institute of
Justice (NIJ), based on research conducted by Dr. Charles S. Petty, Professor of Forensic Pathology, University of Texas, and Dr. Edward T.
McDonough, Deputy Chief Medical Examiner, State of Connecticut, and reviewed by the Less-Than-Lethal Liability Task Group.


Police, sheriffs, and correctional officers        cases involving positional asphyxia is              ■   Unresponsiveness of subject during
have a limited and largely inadequate set          also included. Through officer awareness                or immediately after a struggle.
of tools to use to safely subdue violent           and resultant action, it is anticipated that            Such unresponsive behavior may
and aggressive subjects. Through NIJ’s             deaths attributable to this cause will be               indicate cardiopulmonary arrest and
National Law Enforcement Technology                reduced.                                                the need for immediate medical
Center (NLETC), the Federal Govern-                                                                        attention.
ment is working to identify and support            Sudden in-custody death is not a new
the development of a range of less-than-           phenomenon—it can occur at any time,                It is important to understand how
lethal technologies—from those suitable            for a variety of reasons. Any law enforce-          preexisting risk factors, combined with
for one-on-one encounters to those that            ment agency may experience a sudden in-             the subject’s body position when subdued
might be used for stopping fleeing                 custody death, and while rare, such                 or in transit, can compound the risk of
vehicles. In a recent analysis of in-              deaths appear to be associated most often           sudden death. Information contained in
custody deaths, we discovered evidence             with the following variables:                       this bulletin may help to alert officers to
that unexplained in-custody deaths are                                                                 those factors found frequently in deaths
                                                   ■   Cocaine-induced bizarre or frenzied             involving positional asphyxia.
caused more often than is generally                    behavior. When occurring while
known by a little-known phenomenon                     confined by restraints, cocaine-
called positional asphyxia.                            induced excited delirium (an acute              Basic Physiology of
                                                       mental disorder characterized by                a Struggle
This NLETC bulletin presents informa-
tion relevant to positional asphyxia—i.e.,             impaired thinking, disorientation,              A person lying on his stomach has
death as a result of body position that                visual hallucinations, and illusions)           trouble breathing when pressure is
interferes with one’s ability to breathe—              may increase a subject’s susceptibility         applied to his back. The remedy seems
as it occurs within a confrontational                  to sudden death by effecting an                 relatively simple: get the pressure off his
situation involving law enforcement                    increase of the heart rate to a critical        back. However, during a violent struggle
officers. We offer this information to help            level.                                          between an officer or officers and a
officers recognize factors contributing to                                                             suspect, the solution is not as simple as it
                                                   ■   Drugs and/or alcohol intoxication.
this phenomenon and, therefore, enable                                                                 may sound. Often, the situation is
                                                       Drug and acute alcohol intoxication is
them to respond in a way that will ensure                                                              compounded by a vicious cycle of
                                                       a major risk factor because respiratory
the subject’s safety and minimize risk of                                                              suspect resistance and officer restraint:
                                                       drive is reduced, and subjects may not
death.                                                 realize they are suffocating.                   ■   A suspect is restrained in a face-down
The bulletin identifies factors found to                                                                   position, and breathing may become
                                                   ■   Violent struggle extreme enough to
precipitate positional asphyxia, and                                                                       labored.
                                                       require the officers to employ some
provides recommendations for ensuring a                type of restraint technique. Subjects           ■   Weight is applied to the person’s
subject’s safety and advisory guidelines               who have engaged in extreme violent                 back—the more weight, the more
for care of subjects. Information regard-              activities may be more vulnerable to                severe the degree of compression.
ing the collection of potential evidence in            subsequent respiratory muscle failure.




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■   The individual experiences increased
    difficulty breathing.                   Officer Subduing a Violent Suspect and How It Can Interfere With Breathing

■   The natural reaction to oxygen
    deficiency occurs—the person
    struggles more violently.                    Subject’s chest
                                                 fully extended.
■   The officer applies more compression
    to subdue the individual.                                                                                  Breathing becomes
                                                                                                                   labored due to
                                                                                                                   pressure being
Predisposing Factors to                                                                                                exerted on
Positional Asphyxia                                                                                                      subject’s
                                                                                                                            back.
Certain factors may render some indi-
viduals more susceptible to positional
asphyxia following a violent struggle,
particularly when prone in a face-down
position:
■   Obesity.
■   Alcohol and high drug use.

■   An enlarged heart (renders an indi-
    vidual more susceptible to a cardiac
    arrhythmia under conditions of low
    blood oxygen and stress).
The risk of positional asphyxia is
compounded when an individual with                                                        Officer subdues violent suspect.
predisposing factors becomes involved in
a violent struggle with an officer or
officers, particularly when physical
restraint includes use of behind-the-back   ■   As soon as the suspect is handcuffed,        ■   If the subject is turned over to a
handcuffing combined with placing the           get him off his stomach.                         detention facility, inform the facility’s
subject in a stomach-down position.                                                              custodians of any preexisting medical
                                            ■   Ask the subject if he has used drugs             conditions (cardiac, respiratory) or
                                                recently or suffers from any cardiac or          that the subject requested or needed
Advisory Guidelines for                         respiratory diseases or conditions such          medical treatment because of respira-
Care of Subdued Subjects                        as asthma, bronchitis, or emphysema.             tory difficulty or because he became
To help ensure subject safety and           ■   Monitor subject carefully and obtain             unconscious.
minimize the risk of sudden in-custody          medical treatment if needed.
death, officers should learn to recognize                                                    Collection of Potential
factors contributing to positional as-      ■   Be trained to recognize breathing
                                                                                             Evidence
phyxia. Where possible, avoid the use of        difficulties or loss of consciousness
maximally prone restraint techniques            and immediately transport the indi-          Officers involved in confrontational
(e.g., hogtying). To help minimize the          vidual to the emergency room, or call        situations should collect information that
potential for in-custody injury or death,       for an emergency medical team                may later be of value in a civil or perhaps
officers should:                                (EMT) unit if such signs are observed.       criminal action.

■   Follow existing training and policy     ■   Obtain medical care upon subject’s           A use-of-force report should include
    guidelines for situations involving         request.                                     details of how the individual was
    physical restraint of subjects.


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restrained. The following information         Conclusion                                       NYPD’s Guidelines to Preventing Deaths
should be included:                           To help minimize the risk of positional          in Custody
■   What was the nature of the postarrest     asphyxia, diligent observation and
                                                                                               ■   As soon as the subject is handcuffed,
    restraint procedure? Identify whatever    monitoring of subjects displaying any one            get him off his stomach. Turn him on
    type of restraint (including chemical     or a combination of the described                    his side or place him in a seated
    incapacitants) was used.                  indicators are procedurally warranted.               position.
                                              Furthermore, the use of maximal, prone
                                                                                               ■   If he continues to struggle, do not sit
■   How long was the subject face down        restraint techniques should be avoided. If
                                                                                                   on his back. Hold his legs down or
    and/or restrained?                        prone positioning is required, subjects
                                                                                                   wrap his legs with a strap.
                                              should be closely and continuously
■   How was the subject transported, and      monitored. By implementing such                  ■   Never tie the handcuffs to a leg or
    in what position was the subject          procedural protocols, the potential for in-          ankle restraint.
    during transport?                         custody deaths may be lessened.                  ■   If required, get the suspect immediate
■   How long did the transport phase last,                                                         medical attention.
    and what observations were made of                                                         ■   Do not lay the person on his stomach
    the subject’s condition?                                                                       during transport to a station house or
                                                                                                   hospital. Instead, place him in a seated
To reasonably establish the cause of                                                               position.
death or serious injury, a broad range of      NLETC Bulletin
factors must be examined:                                                                      ■   An officer should sit in the rear seat
                                               The NLETC Bulletin is designed as a forum           beside the suspect for observation and
                                               for disseminating to the law enforcement            control.
■   Nature of the confrontation.
                                               and criminal justice communities the most
                                               current information on technologies             The New York City Police Department
■   Weapon(s), if any, employed by
                                               relevant to your needs. We welcome your         (NYPD) has developed a training tape on
    officers.*                                 comments or recommendations for future          positional asphyxia. The Department has
                                               Bulletins.                                      agreed to make the tape available to interested
■   Duration of the physical combat.
                                                                                               law enforcement agencies. To request a
■   System or type of postarrest restraint     The National Law Enforcement Technol-           complimentary copy, please send your written
                                               ogy Center is designing data bases to help      request on departmental letterhead, and a blank
    employed.                                  respond to agencies that want to know who       VHS tape, to the Deputy Commissioner of
                                               manufactures a specific product and what        Training, NYPD, 235 East 20th Street, New
■   Transportation of the subject: destina-    other agencies may be using that product.       York, New York 10003.
    tion, duration, mode of transport, and     Your contributions to the Center’s
    position of subject during transport.      information network are important. What
                                               technologies or techniques are you using
■   Emergency room observations and            that you would like to share with col-          The National Law Enforcement Technol-
    actions, names of attending medical        leagues? Please call or write to the National   ogy Center is supported by Cooperative
    personnel.                                 Law Enforcement Technology Center, P.O.         Agreement #95–IJ–CX–K002 awarded by
                                               Box 1160, Rockville, MD 20849,                  the U.S. Department of Justice, National
■   Postmortem examination (autopsy) of        800–248–2742.                                   Institute of Justice.
    subject: nature of injuries, diseases                                                      The National Institute of Justice is a
    present, drugs present, and other                                                          component of the Office of Justice
    physical factors.                                                                          Programs, which also includes the Bureau
                                                                                               of Justice Assistance, Bureau of Justice
                                                                                               Statistics, Office of Juvenile Justice and
*If any incapacitant was used (e.g., pepper                                                    Delinquency Prevention, and Office for
spray), the delivery system should immedi-                                                     Victims of Crime.
ately be secured for possible analysis.




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